     Case 2:21-cv-04255-SB-SHK Document 26 Filed 03/18/22 Page 1 of 3 Page ID #:137



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5     Facsimile: (866) 633-0228
6     Attorneys for Plaintiff
7
                         UNITED STATES DISTRICT COURT
8                       CENTRAL DISTRICT OF CALIFORNIA
9

10                                          )          Case No.
       JOHN SLOATMAN III, individually )
11
      and on behalf of all others similarly )
12    situated,                             )            2:21-cv-04255-SB-SHK
13
      Plaintiff,                            )
      vs.                                   )          JOINT STIPULATION OF
14    NORTHSTAR LOCATION                    )          DISMISSAL OF ACTION OF THE
15    SERVICES, LLC, and DOES 1             )          INDIVIDUAL CLAIMS
      through 10, inclusive, and each of    )          WITH PREJUDICE AND THE
16
      them,                                 )          PUTATIVE CLASS CLAIMS
17    Defendant.                            )          WITHOUT PREJUDICE
18
                                            )
19
      NOW COME THE PARTIES by and through their attorneys to respectfully move
20
      this Honorable Court to dismiss this matter with prejudice as to Plaintiff’s
21
      individual claims and without prejudice as to the putative Class pursuant to
22
      Federal Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
23
      costs and attorney fees.
24

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            ///
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                                        Stipulation to Dismiss- 1
     Case 2:21-cv-04255-SB-SHK Document 26 Filed 03/18/22 Page 2 of 3 Page ID #:138




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2          Respectfully submitted this 18th Day of March, 2022,
3
                                                 Law Offices of Todd M. Friedman P.C
4                                                     By: s/Adrian R. Bacon
5                                                    ADRIAN R. BACON Esq
                                                           Attorney for Plaintiff
6

7                                              GARY J. LORCH ELIZABETH B. VANALEK
                                               GORDON REES SCULLY MANSUKHANI,
8                                              LLP
9                                                    By:_/s/ Gary J. Lorch ________
                                                     GARY J. LORCH
10
                                               Attorneys for Defendant NORTHSTAR
11                                             LOCATION SERVICES, LLC
12
                                    Signature Certification
13

14
            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative

15
      Policies and Procedures Manual, I hereby certify that the content of this

16    document is acceptable to counsel for Defendant and that I have obtained their
17    authorization to affix their electronic signature to this document.
18
      Dated: March 18, 2022 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
19

20
                                    By: _s/ Adrian R. Bacon
21                                      Adrian R. Bacon ESQ.
22
                                          Attorney for Plaintiff
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                                       Stipulation to Dismiss- 2
     Case 2:21-cv-04255-SB-SHK Document 26 Filed 03/18/22 Page 3 of 3 Page ID #:139




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4
      Filed electronically on this 18th Day of March, 2022, with:
5

6     Notification sent electronically via the Court’s ECF system to:
7
      Honorable Judge of the Court
8     United States District Court
9
      All Counsel of Record as Recorded On The Electronic Service List.
10

11
      This 18th Day of March, 2022.
12    s/Adrian R. Bacon
      ADRIAN R. BACON
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                                       Stipulation to Dismiss- 3
